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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF INDIANA
                                   HAMMOND DIVISION

 JOHN DOE,                                                       )
                                                                 ) CIVIL ACTION
                 Plaintiff,                                      )
 v.                                                              )
                                                                 )
 PURDUE UNIVERSITY, PURDUE UNIVERSITY                            )
 BOARD OF TRUSTEES, MITCHELL ELIAS                               )
 DANIELS, JR., in his official capacity as President of          )
 Purdue University, ALYSA CHRISTMAS ROLLOCK,                     ) No. 2:17-cv-33-JPK
 in her official capacity at Purdue University,                  )
 KATHERINE SERMERSHEIM, in her official capacity                 )
 at Purdue University,                                           )
                                                                 )
                  Defendants.                                    )




           DEFENDANTS’ NOTICE OF PLAINTIFF’S DEPOSITION TESTIMONY
           Defendants, by counsel, in reference to the pending Motion for Failure to Comply With

Discovery Order (ECF No. 92), tender the attached excerpt of deposition testimony given by the

Plaintiff John Doe on August 18, 2020, marked as Exhibit “A.”

Dated: August 25, 2020                         Respectfully submitted,

                                               /s/ Tyler L. Jones
                                               William P. Kealey (No. 18973-79)
                                               Tyler L. Jones (No. 34656-29)
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